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 8                                    UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                        No. 1:12-CR-00035 DAD
12                       Plaintiff,
13            v.                                       ORDER
14    BONNIE LYNNE RECINOS,
15                       Defendant.
16

17           On April 10, 2017, defendant Bonnie Lynne Recinos was sentenced by this court,

18   pursuant to the entry of her plea of guilty to conspiracy to commit mail and wire fraud in

19   violation of 18 U.S.C. § 1349, to the custody of the U.S. Bureau of Prisons for a term of 55

20   months and to pay restitution in the amount of $1,507,882.03, with a three-year term of

21   supervised release to follow. (Doc. No. 109.)

22           On January 2, 2019, defendant Recinos filed with the court, on her own behalf, a “Motion

23   for Downward Departure” based upon what she represents to be her “extraordinary post-offense

24   rehabilitation efforts.” (Doc. No. 116.) Therein, defendant Recinos seeks an eighteen-month

25   reduction in the sentence imposed by this court in 2017. (Id.) However, defendant mistakenly

26   contends that her motion for a sentence reduction is authorized by Rule 47 of the Federal Rules of

27   Criminal Procedure which merely relates generally to the filing of motions.

28   /////
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 1          A district court generally “may not modify a term of imprisonment once it has been

 2   imposed [unless, inter alia,] expressly permitted by statute or by Rule 35 of the Federal Rules of

 3   Criminal Procedure.” 18 U.S.C. § 3582(c); Dillon v. United States, 560 U.S. 817, 819 (2010).

 4   None of the requirements for the reducing of a sentence set forth in Rule 35 or any other statute

 5   are satisfied here and none of the authorities cited by defendant in her recent filing support the

 6   granting of the requested sentence reduction. While a downward departure from the applicable

 7   advisory sentencing guideline range based upon post-offense rehabilitation may have been

 8   available to defendant at the time of her sentencing, it is simply not available to her now in the

 9   form of a reduction of her sentence regardless of her laudable rehabilitative efforts following her

10   imprisonment.

11          Accordingly, defendant’s January 2, 2019 motion for downward departure (Doc No. 116)

12   is denied.

13   IT IS SO ORDERED.
14
        Dated:     January 9, 2019
15                                                      UNITED STATES DISTRICT JUDGE

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